Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 1 of 50

United States Courts
Southern District of Texas
FILED

Fill in this information to identify your case:

Debtor 1 Gerardo Rios AUG 2 3 2019

First Name Middle Name Last Name

 

Debtor 2 David J. Bradley, Clerk of Court

{Spouse, if filing} First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHER District of TEXAS

Case number (] Check if this is an
{if known) amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/16

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B..........cccccssccccceccsencecncescceeeesceacesenueevesssaeseacnecaesuacenesscesaseatesneseeesseceeaes $ _191000
1b. Copy line 62, Total personal property, from Schedule A/B o.oo... sescssseecessesessenceseceecsenenanenseceseesessseseeansaesensiseetaneecetars $_ 61246
1c. Copy line 63, Total of all property on Schedule A/B oo... csc sete ee cee eee eeesesessesessnesecneseseosesenecaesesasacersensnesseatensasnesntaees $ 252246
iFiwse Summarize Your Liabilities
Your liabilities

Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $_213305
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F .ecscccccccsssssssssssussssssesensee $ _2467

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F oo... cccsceesceseseeeeees + § 74636

Your total liabilities $ _290408

tice Summarize Your income and Expenses
4. Schedule I: Your income (Official Form 1061)

Copy your combined monthly income from line 12 Of SCHECUIC I oo... seecescececccescesseseseseseseseseneassssssesssssssasecanscaeecseneaessueneas $_-400
5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of SCHEGUIC J o....ccccccecccccccecescesseeseessentsesecsesuessvsnssnssscasseussesaseussecauenaveceevensenss $__ 5245

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 2 of 50

Debtor 1 Gerardo Rios Case number (it known)
First Name Middle Name Last Name

iFlae-ume Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
L_No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
es
7. What kind of debt do you have?

fd Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

a) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. ¢ 200

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $__ 2467
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $__9

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $__0

9d. Student loans. (Copy line 6f.) $__0

9e. Obligations arising out of a separation agreement or divorce that you did not report as 3 0

priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +s 0
9g. Total. Add lines 9a through $f. $2467

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 3 of 50

Fill in this information to identify your case and this filing:

Debtor 1 Gerardo Rios
First Name i Last Name

 

Debtor 2
{Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHER District of TEXAS

Case number

 

(J Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/16

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset In the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

7 tamte Describe Each Residence, Buliding, Land, or Other Real Estate You Own or Have an Interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

fo No. Go to Part 2.
(a Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

7, | Single-family home the amount of any secured claims on Schedule D:
1.1, Family Residence Creditors Who Have Claims Secured by Property.

Street address, if available, or other description O) Duplex or mutti-unit building

 

 

 

 

 

 

0) Condominium or cooperative Current value of the Current value of the
Loc: Desbtors Residence () Manufactured or mobile home entire property? portion you own?
(] Land $ 170000 $ 170000
C) investment property
- Q) Timeshare Describe the nature of your ownership
City State ZIP Code 0 othe interest (such as fee simple, tenancy by
r the entireties, or a life estate), if known.
Who has an interest in the property? Check one. Fee Simple
Wi Debtor 1 only
County {} Debtor 2 only
C2) Debtor 1 and Debtor 2 only C) Check if this is community property

CJ At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number: Deshtors Residence

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct red claims or exemptions. Put
Q Singie-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

Land Lot i
1.2. rn Creditors Who Have Claims Secured by Property.
Street address, if available, or other description a Duplex or muitrunit building
Loc: 0 Wood Shadows Dr. Housten Tx J Condominium or cooperative Current value of the Current value of the
77013 {J Manufactured or mobile home entire property? portion you own?
@ Lang $.21000 $_21000
( investment property
O) Timesn Describe the nature of your ownership
City State ZIP Code Q imesnare interest (such as fee simpte, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one. _Fee Simple
debtor 1 only
County C) Debtor 2 only
(J Debtor 1 and Debtor 2 only (J check if this is community property
(J At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number: _0 Wood Shadows Dr, Houston Tx 77013

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Gerardo Rios Case number (if known)
First Name Middle Name Last Name

What is the property? Check ail that apply. Do not deduct secured claims or exemptions. Put
QD sin gle-family home the amount of any secured claims on Schedule D:

ae Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q Dupiex or multi-unit building
CQ Condominium or cooperative

1.3.

 

Current value of the Current value of the

 

 

 

(J manufactured or mobile home entire property? portion you own?
() Lana $ $
C2 investment property
7 ‘ Describe the nature of your ownership
t ZIP Cod
city State ° a Timeshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one.
LJ) Debtor 1 only

 

 

 

County (2 Debtor 2 only
() Debtor 1 and Debtor 2 only CI Check if this is community property
CL) At teast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages ¢ 191000
you have attached for Part 1. Write that number here. 00.0.0... cece cent ence cecee cca eeceaacaaauaceaaaeaaaneaeaaeanaaaaaananaa »>

 

 

 

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

my} No
fl Yes

 

 

 

 

 

 

3.1. Make: Dodge Who has an interest in the property? Check one. not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: Ram a Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2016 Q] Debtor 2 only
ear: —~hi00 () Debtor 1 and Debtor 2 only Current value of the Current value of the
. : . ortion n
Approximate mileage: (J At least one of the debtors and another property P you ow
Other information:
2016 Dodge Ram (J Check if this is community property (see $_25000 $_25000
| instructions)
4
If you own or have more than one, describe here:
32. Make: Ford Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
- the amount of any secured claims on Schedule D:
Model: F-150 (A debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2013 L) Debtor 2 only
—Fe000 C2 debtor 4 and Debtor 2 only ontire property? the current value of the
Approximate mileage: ___Ov''" (0 At least one of the debtors and another Po! ¥
Other information:
12000
(} Check if this is community property (see $_12000 $

| 2013 Ford F-150
\

|
instructions)

Official Form 106A/B Schedule AJB: Property page 2
Debtor 1

3.3.

3.4,

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Case number (it known)

 

Who has an interest in the property? Check one.

Gerardo Rios
First Name Middle Name Last Name
Make: _
Model: [debtor 1 only
Debtor 2 only
Year:

Approximate mileage:

Other information:

 

Make:
Model:
Year:

Approximate mileage:

Other information:

ene

Cy Debtor 4 and Debtor 2 only
At least one of the debtors and another

(2 Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
[a Debtor 4 only

C) Debtor 2 only
CJ Debtor 1 and Debtor 2 only
(2) At least one of the debtors and another

(J Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

[ No
[UT ves

41.

If you

4.2.

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Make:
Model:
Year:

Other information:

poceetene — ee ee ne een nen nn

|
|

 

 

own or have more than one, list here:
Make:

Model:

Year:

Other information:

|
|
|

Official Form 106A/B

Who has an interest in the property? Check one.

Q) Debtor 1 only

C} Debtor 2 only

(CJ Debtor 1 and Debtor 2 only

() Atieast one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CY Debtor 1 only

Q) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

UJ At least one of the debtors and another

L) check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

page 3
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Debtor + Gerardo Rios Case number tif known)
First Name Middle Name Last Name

FRE veserne Your Personal and Household Items

 

Current value of the
Do you own or have any legal! or equitable interest in any of the following items? portion you own?
Do not deduct secured claims
or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
fa No
[\A Yes. Describe......... Household Goods And Furnishing - Desbtors Residence g_7000
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
fo No
[Al Yes. Descrive........ Electronics - Desbtors Residence g_ 1500
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
ia No
[UT Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musica! instruments
Fa No
fd Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
‘a No
[Al Yes. Describe.......... Firearms - Debtors Residence $_1000
41. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
fo No
[A Yes. Describe.......... Clothes - Desbtors Residence g 1200
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
id No
[CY Yes. Desoribe........... $
13. Non-farm animals
Exampies: Dogs, cats, birds, horses
iA No
[Ql Yes. Deseribe........... $
14. Any other personal and househoid items you did not already list, including any heaith aids you did not list
a No
oO Yes. Give specific $
information. ..............
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 10700
for Part 3. Write that number here oo... cee cccsseeeesscscssssneessesessnvevvesssssssnunussssesssnsisessasapustesessuivissessnunvesenegviseestsseseseneees >

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
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Debtor 1 Gerardo Rios Case number (ir known)
First Name Middle Name Last Name
| art «: Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
fray No
Q NOS ooo ccccccccccccssccecsaceescececercesneacesnevepersaneecesseennecerseseeeseeeeeesnatecaesanesvaeae stone cad deseesaeesesHatecciesesseeeeeeseeaseanenaense CASI cooccccccccceceseeevsee $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
fa No
YO@S woe institution name:
17.1. Checking account: Bank Account - Chase Bank $600
17.2. Checking account: Sayings Account - Chase Bank $25
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: 5
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
1 No
(CY YOS oe Institution or issuer name:
3.

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

Fr] No Name of entity: % of ownership:
(a Yes. Give specific %
information about
them... %
%

 

Official Forrn 106A/B Schedule A/B: Property page §
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Debtor 4 Gerardo Rios
First Name Middle Name Last Name

Case number (if known),

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

li No

[CD yes. Give specific _!ssuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 $
$
$

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
a No
fa Yes. List each

account separately. Type of account: Institution name:

401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
[fi No
7 Institution name or individual:
Electric: $
Gas: $
Heating oil: 5
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
(fi No
a Issuer name and description:
$
$

 

Official Form 106A/B

Schedule A/B: Property

page 6
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Debtor 1 Gerardo Rios Case number (it known),
First Name Middie Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tultion program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

I No

[Q VES eseenectectestenerctcte institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

ii No

‘QO Yes. Give specific
information about them.... 3.

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licansing agreements

[ZI No

[Ci Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

i No
oO Yes. Give specific
information about them.... $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
28. Tax refunds owed to you
(i No
(a Yes. Give specific information ederal:
about them, including whether F , $
you already filed the retums State:
and the tax years. 0.0... ee
Local:
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
(Zi No
fo Yes. Give specific information..............
Alimony: $
Maintenance: $
Support 3
Divorce settlement: $.
Property settlement: §
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
(a No
[CT Yes. Give specific information..............
$

Official Form 106A/B Schedule A/B: Property page 7
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Debtor 4 Gerardo Rios Case number (i known)
Fret Name Middle Name Last Name

31. interests in insurance policies
Examples: Health, disability, or fife insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

i No

1} Yes. Name the insurance company _ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

iO No

(Q Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

I No

oO Yes. Describe each ciaim. ....................

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

I No

[O Yes. Describe each Claim. ....ccccccscn.

35. Any financial assets you did not already list

IZ No

(O Yes. Give specific information............

 

36. Add the doliar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here >

 

5625

 

 

cus! Describe Any Business-Related Property You Own or Have an Interest in. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest In any business-related property?
WZ No. Go to Part 6.
[Q Yes. Go to tine 38.

Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
38. Accounts receivable or commissions you already earned
Zi No
[Q Yes. Describe.......
$
39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
ao No
[QQ Yes. Describe....... $

Official Form 106A/B Schedule A/B: Property page 8
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 11 of 50

Debtor 4 Gerardo Rios

First Name Middie Name Last Name

Case number (tknown),

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

 

 

 

 

 

 

(Zi No
(O Yes. Describe....... $
41. Inventory
No
[Cl Yes. Describe...... $
42. Interests in partnerships or joint ventures
a No
[C) Yes. Describe... juame of entity % of ownership:
% $
% $
% $
43. tomer fists, mailing lists, or other compilations
No
fa Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
(oO No
(cy Yes. Describe........ 5
44. business-related property you did not already list
No
fay Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, Including any entries for pages you have attached $ 0
for Part 5. Write that number here ...... >

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you own or have an interest in farmiand, list it in Part 1.

 

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
C} No. Go to Part 7.
[Wi Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
47. Farm animais
Examples. Livestock, poultry, farm-raised fish
I No
CD Yes ocean
$

Official Form 106A/B Schedule A/B: Property page 9
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Debtor 4 Gerardo Rios Case number (i known}
Feet Name Middle Name Last Name

48. Crops-——eilther growing or harvested

MA No
a Yes. Give specific
information. ............ 5

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No

[Zi No

51. Any farm- and commercial fishing-related property you did not already list
No

(a Yes. Give specific
information. ............. $

 

52. Add the dollar value of alt of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number fore oo... ccs esse tesseesssessseseseasconsssssuessncssueessadserssveneesssarsasesssennesssessensssstediccrereececseees >

12921

 

 

 

 

eee! Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

IC) No

Land Lot - 7973 Safebuy, Houston Tx 77628 $ 12921

 

54. Add the dollar value of all of your entries from Part 7. Write that number Were oo o....cccccccseeecccsccscsecsseseesnenenecensene > g_12921

 

 

 

ee ws the Totals of Each Part of this Form

 

55. Part 1: Total real estate, Mme 2 oc cece ceseeeeeceeseseeesreseesenseneansesseenee
56. Part 2: Total vehicles, line 5 $ 37000
57. Part 3: Total personal and household items, line 15 $
58. Part 4: Total financial assets, line 36 $.
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 g_ 12921

61. Part 7: Total other property not listed, line 54 +g 12921

62. Total personal property. Add lines 56 through 61. .................... $ 61246 Copy personal property total > +¢ 61246

 

63. Total of ail property on Schedule A/B. Add line 55 + fine 62.

g 252246

 

 

 

Officiat Form 106A/B Schedule A/B: Property page 10
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it in this information to identify your case:
a f t to identify yo ehts

Rios

Last Name

Gerardo
First Name

Debtor 1
Middle Name

Debtor 2

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHER District of TEXAS

Case number
(if known)

 

 

(3 Check if this is an
amended filing

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

04/19

Be as complete and accurate as possibile. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write

your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing 80 is to state a
specific dollar amount as exempt. Alternatively, you may ciaim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited In doliar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption

would be limited to the applicable statutory amount.

ia identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
() You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

(J You are daiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the

 

Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
Brief Family Residence Property 41.001, 41.002;
description: $17ooo0, c(i
Line from 4 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief 2016 Dodge Ram

Property 42,001, 42.002;
description: $25000 Os
Line from (4 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
: Land Lot

Brief Property 4L001, 41.002;
description: $_21000 Os
Line from 2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?

(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

2 No

Q) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

(J No
QO Yes

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 1 of __
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 14 of 50

Debtor 4

Gerardo

First Name

Middle Name

Additional Page

Rios

Last Name

Case number (it known),

 

Brief description of the property and line

on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:
Line from

Schedule AB:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

 

 

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption

 

Wd 100% of fair market value, up to
any applicable statutory limit

 

if 100% of fair market value, up to
any applicable statutory fimit

 

Gi 100% of fair market vatue, up to
any applicable statutory limit

 

 

 

 

4) 100% of fair market value, up to
any applicable statutory limit

 

WH 100% of fair market value, up to
any applicable statutory limit

 

lad! 100% of fair market value, up to

 

 

 

UY 100% of fair market value, up to
any applicable statutory limit

 

bl 100% of fair market value, up to

 

C) 100% of fair market value, up to

 

CQ 100% of fair market value, up to

 

() 100% of fair market value, up to

Schedule A/B
Bank Account
$ 600 Os
2013 Ford F-150 5 12000 Os
Savings Account 6
$* Os
Household Goods And
Furnishing g_7000 L$
Firearms
s 1000 Os
Electronics
¢ 1500 Ls
any applicable statutory limit
Clothes
$¢ 1200 Os
Land Lot
$ 12921 Os
_ any applicable statutory limit
$ Os
—_ any applicable statutory limit
$ Os
CC any applicable statutory limit
$ Os
—_ any applicable statutory limit
$ Os

 

C) 100% of fair market value, up to
any applicable statutory timit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

Pro 42.001(b)(1
ALON,

Property 42.001, 42.002;

 

Property 42.001(b)(1),
42.001(d);

Property 42.001, 42.002;

Property 42.001, 42.002;

Property 42.001, 42.002;

-Property 42.001, 42.002;
Property 41. 001, 41.902;

 

page__ of __
Case 19-34704 Document5 Filed in TXSB on 08/23/19

Fill in this information to identify your case:

Debtor; _ Gerardo

 

First Name

Debtor 2

Middie Name

 

(Spouse, if filing) First Name

Middle Name

Last Name

United States Bankruptcy Court for the: SOUTHER pijgtict of TEXAS

Case number

 

(If known)

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

Page 15 of 50

C) Check if this is an

amended filing

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
( No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

[dl Yes. Fill in ail of the information below.

eee tise All Secured Claims

 

 

 

 

 

 

 

Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount of claim Value of collateral Unsecured
for each claim. if more than one creditor has a particular claim, list the other creditors in Part2. 5 not deduct the that supports this _ portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any
[2.4] Bank Of America Describe the property that secures the claim: $ 19948 $_25000 $0
Creditors Ni / ~ ee ~~
manors Nome | 2016 Dodge Ram
Po Box 45224 :
Number Street i . _ a
As of the date you file, the claim is: Check all that apply.
(2 Contingent
Jacksonville FL 32232-5224 QO) unliquidated
City State ZIP Code ©) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
a Debtor 1 only @ An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
QO) Debtor 1 and Debtor 2 only Q Statutory lien (such as tax tien, mechanic's lien)
©) Atleast one of the debtors and another Judgment lien from a lawsuit
© other (including a right to offsety Aute Loan
O Check if this claim relates to a
community debt
Date debt was incurred 2016 Last 4 digits of account number 2731 _ __
| 2.2] Rocket Mortgage $ 170000 30

 

Creditors Name

 

 

 

Po Box 6577

Number Street

Carol Stream IL 60197-6577

City State ZIP Code

Who owes the debt? Check one.

Debtor 4 only
Debtor 2 only
(3 Debtor 1 and Debtor 2 only
(C2 Atleast one of the debtors and another

QO) Check if this claim relates to a
community debt
2017

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

Official Form 106D

 

Describe the property that secures the claim: $_104957

 

Family Residence

 

As of the date you file, the claim is: Check all that apply.

Q Contingent

QO) Unliquidatea

CI Disputed

Nature of lien. Check all that apply.

di An agreement you made (such as mortgage or secured
car loan)

QO Statutory lien (such as tax tien, mechanic's lien)

Q Judgment fien from a lawsuit

OQ other (including a right to offset) Home Mortgage

. 4082
Last 4 digits of account number ___

p1zdo0s_|

Schedule D: Creditors Who Have Claims Secured by Property

page 1of___
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 16 of 50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Gerardo Rios Case number (it known)
First Name Middle Name Last Name
Additional Page amount fF clai Value of collateral Urge red
. ount of claim alue e Insecur
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the that supports this portion
by 2.4, and so forth. value of collateral. claim if any
Sba Loan Describe the property that secures the claim: $_79400 $ 170000 30
Creditor's Name
10737 Gateway West | Family Residence
Number Street |
| t
Suite 300 As of the date you file, the claim is: Check all that apply.
El Paso TX 79935 C2 Contingent
City State ZIP Code OQ Untiquidatea
QO Disputed
ee owes the debt? Check one. Nature of lien. Check all that apply.
Debtor 1 only UW An agreement you made (such as mortgage or secured
Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only (J Statutory lien (such as tax lien, mechanic's lien)
Q Atteast one of the debtors and another 2 Judgment lien from a lawsuit
C2 other (including a right to offset) Home Mortgage
QO) Check if this claim relates to a
community debt
Date debt was incurred 2018 Last 4 digits of account number!
Star Properties Describe the property that secures the claim: ¢_9000 $_21000 30
Creditors Name . . co :
10450 Hamlet Valet Ct Land Lot |
Number Street i
As of the date you file, the claim is: Check all that apply.
(2 Contingent
Houston TX 77070 QO) unliquidated
City State ZIP Code 2 bisputed
fa. owes the debt? Check one. Nature of lien. Check all that apply.
Debtor 1 only (@ An agreement you made (such as mortgage or secured
Debtor 2 only car loan)
Debtor 1 and Debtor 2 only (Statutory lien (such as tax lien, mechanic's lien)
[Ur At least one of the debtors and another (2 Judgment lien from a lawsuit
i ; ; Land
O Check if this claim relates to a C1 Other (including a right to offset)
community debt
Date debt was incurred 2018 Last 4 digits of accountnumber =
[J Describe the property that secures the claim: $ $ $
Creditors Name ; eee \
|
Number Street
As of the date you fite, the claim is: Check all that apply.
Q Contingent
City State ZIP Code QC) Untiquidatea
C1 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
(1 Debtor 4 only (1 An agreement you made (such as mortgage or secured
OQ Debtor 2 only car loan)
C) Debtor 1 and Debtor 2 only CJ Statutory tien (such as tax lien, mechanic's lien)
) At least one of the debtors and another (2 Judgment lien from a lawsuit
(J Other (including a right to offset)
QQ) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber
Add the dollar value of your entries in Column A on this page. Write that number here: $ 88400
if this is the last page of your form, add the dollar value totals from all pages. 213305
Write that number here: S.
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page_of__
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Fill in this information to identify your case:

Gerardo Rios
First Name Middle Name Last Name

Debtor 14

 

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: SOUTHER pistrict of TEXAS

Case number QO Check if this is an

 

 

 

 

(if known) amended filing
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result In a claim. Also list executory contracts on Schedule
AJB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

tiem List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
No. Go to Part 2.
(od Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular ciaim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority
amount amount

 

 

 

2.1 .

Oag Child Support Last 4 digits of accountnumber_ ss 2G. $_2467 $0
Priority Creditors Name
Po Box 12017 When was the debt incurred? _2012
Number Street

 

As of the date you file, the claim is: Check ail that apply.
Auston TX 78711

 

City State ZIP Gode 4 ee
nliqui
Who incurred the debt? Check one. C disputed
Wi Debtor 1 only
{2 Debtor 2 only Type of PRIORITY unsecured claim:

CJ Debtor 1 and Debtor 2 only
O Atleast one of the debtors and another

QO) Check if this ctaim is for a community debt

A Domestic support obligations
( Taxes and certain other debts you owe the government
C) Claims for death or personal injury while you were

 

 

 

 

 

 

Is the claim subject to offset? intoxicated .

Gh No O other. Specify Child Support

O yes

2.2 Last 4 digits of account number _ = sg $ $

Priority Creditors Name
When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent

City State ‘ZIP Code (J Unliquidated

Who incurred the debt? Check one. Q) Disputed

CQ) Debtor 1 only

Type of PRIORITY unsecured claim:

(J Debtor 2 ont
y (3 Domestic support obligations

C) Debtor 1 and Debtor 2 only
U) At least one of the debtors and another

(3 Check if this claim is for a community debt

(2 Taxes and certain other debts you owe the government
L Claims for death or personal injury while you were

 

intoxicated
Is the claim subject to offset? Q) Other. Specify
No
QO) Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1of_
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 18 of 50

Gerardo Rios
First Name Middle Name

Debtor 1

Last Name

Case number (it known)

ESE your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

C]

 

 

 

 

Priority Creditor's Name
Number Street
City State ZIP Code

Who incurred the debt? Check one.

C2 Debtor 1 only

(} Debtor 2 only

(2 Debtor 1 and Debtor 2 only

CJ At teast one of the debtors and another

OQ) Check if this claim is for a community debt

 

 

 

 

Is the claim subject to offset?

0 No

Q Yes

Priority Creditors Name

Number Street

City State ZIP Code

Who incurred the debt? Check one.

CI} Debtor 1 only

C} Debtor 2 only

(2 Debtor 1 and Debtor 2 only

C) At teast one of the debtors and another

C) Check if this claim is for a community debt

 

 

 

 

Is the claim subject to offset?

GQ No

QQ) Yes

Priority Creditor’s Name

Number Street

City State ZIP Code

Who incurred the debt? Check one.

O) Debtor 1 only

C3 Debtor 2 only

{2 Debtor 1 and Debtor 2 only

O At least one of the debtors and ancther

) Check if this claim is for a community debt

Is the claim subject to offset?

OQ No
Q) Yes

Official Form 106E/F

Total claim Priority

amount

Last 4 digits of account number ___ $, $,

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
O) unliquidated
(2 Disputed

Type of PRIORITY unsecured claim:

(2 Domestic support obligations
(] Taxes and certain other debts you owe the government

(3 Claims for death or personal injury while you were
intoxicated

CD other. Specify

 

Last 4 digits of account number ___ $, §,

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
QO) unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

CQ) Domestic support obligations
(J Taxes and certain other debts you owe the government

() Claims for death or personal injury while you were
intoxicated

C other. Specify

 

Last 4 digits of account number ___ $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
O Unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O OOC

 

Schedule E/F: Creditors Who Have Unsecured Claims

Nonpriority
amount

page _ of.
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 19 of 50

Debtor 1 Gerardo Rios

 

First Name Middle Name Last Name

Fisesme List All of Your NONPRIORITY Unsecured Claims

Case number (it known)

 

No. You have nothing to report in this part. Submit this form to the court with your other schedules.

3. ra any creditors have nonpriority unsecured claims against you?
mM

Yes

4. List all of your nonpriority unsecured claims in the aiphabetical order of the creditor who holds each claim. If a credifor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

fs American Express

 

Nonpriority Creditors Name
Po Box 650448

 

Number Street
Dallas TX 75265-0448

 

City State ZIP Code

Who incurred the debt? Check one.
a Debtor 1 onty

CQ) Debtor 2 onty

C Debtor 1 and Debtor 2 only

C2 Atleast one of the debtors and another

U) Check if this claim is for a community debt

Is the claim subject to offset?

Gi no
CG Yes

fez | Bank Of America

 

Nonpriority Creditors Name
Po Box 851001

 

Number —s_- Street

Dallas TX 75285-1001
City State ZIP Code
Who incurred the debt? Check one.

ZA Dettor 1 only

QC) Debtor 2 only

(2 Debtor 1 and Debtor 2 oniy

CJ Atleast one of the debtors and another

UO Check if this claim is for a community debt

Is the claim subject to offset?
2 No
U Yes

ks | Capital One

Nonopriority Creditors Name
Po Box 60599

 

Number Street

City Of Industry CA 91716-0599
City State ZIP Code
Who incurred the debt? Check one.

a Debtor 4 oniy

C2 Debtor 2 only

(2 Debtor 4 and Debtor 2 only

(2 At least one of the debtors and another

QO) Check if this claim is for a community debt

is the claim subject to offset?
@ No
Q ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page __ of

Total clan

4002

Last 4 digits of account number 4002 $_ 15137
When was the debt incurred? _2003.

As of the date you file, the claim is: Check all that apply.
UO Contingent

OQ) Unliquidated

(2 Disputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

Gd Other. Specify Credit Card

Last 4 digits of accountnumber 9241 $__11821
When was the debt incurred? 2013

As of the date you fite, the claim Is: Check ail that apply.
OQ Contingent

QO) unliquidated

QO Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

C) Obligations arising out of a separation agreement or divorce
that you did not report as priority daims

(2 Debts to pension or profit-sharing plans, and other similar debts

( Other. Specify Credit Card

Last 4 digits of account number 3224

$___ 2812
When was the debt incurred? 2012

As of the date you file, the claim is: Check all that apply.
CI Contingent

unliquidated

QO Disputed

Type of NONPRIORITY unsecured claim:

{3 Student loans

OQ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

O2 Debts to pension or profit-sharing plans, and other similar debts

U2 Other. Specify Credit Card
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 20 of 50

 

Debtor 1 Gerardo Rios
First Name Middie Name Lest Name

Case number (i known),

Your NONPRIORITY Unsecured Ciaims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Capital One
Nonpriority Creditors Name

Po Box 60599

Number Street

City Of Industry CA 91716-0599
City State ZAP Code

Who incurred the debt? Check one.

a Debtor 1 only

(L) Debtor 2 onty

O Debtor 1 and Debtor 2 only

(C2 At east one of the debtors and another

CJ Check if this claim Is for a community debt
is the claim subject to offset?

Zi no
Cl Yes

Capital One
Nonpriority Creditors Name

Po Box 60599
Number Street

City Of Industry CA 91716-0599
City

 

 

State ZIP Code

Who incurred the debt? Check one.

C1 Debtor 1 only

C2 Debtor 2 onty

(2 Debtor 4 and Debtor 2 only

(2 At least one of the debtors and another

(2 Check if this claim is for a community debt
ts the claim subject to offset?

Zi No
QO Yes

 

City State ZIP Code

Who incurred the debt? Check one.

D) Debtor 1 only

(2 Debtor 2 only

(C2 Debtor 1 and Debtor 2 only

(CD At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

4 No
Q Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number 0575 __ — $ 2740

When was the debt incurred? 2012

As of the date you file, the claim is: Check all that apply.

(2 Contingent
C} Untiquidated
C) disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

L) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts

1A other. Specity CreditCard =

Last 4 digits of account number _5099

2012

$_2733
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO Contingent

OC) unliquidated

OQ Disputed

Type of NONPRIORITY unsecured claim:

C} Student loans

QO ObtKigations arising out of a separation agreement or divorce that
you did not report as priority claims
Q Debts to pension or profit-sharing plans, and other similar debts

Wd other. Specify Credit Card

5289
Last 4 digits of account number _1977) ‘

When was the debt incurred? 2015

As of the date you file, the claim is: Check all that apply.

CJ Contingent
UC} Untiquidated
C2 pisputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2) Debts to pension or profit-sharing plans, and other similar debts

Uf other. Specify Credit Card

page of__
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 21 of 50

Debtor 4 Gerardo Rios Case number (sown)
Fiat Name Ticche Name Toei Name

RE os 1% aroun tor encn Tne of unsecure Claim

6. Total the amounts of certain types of unsecured claims. This information Is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. $ 2467
from Part 4 6b. Taxes and certain other debts you owe the
government 6b. $0
6c. Claims for death or personal injury while you were
intoxicated 6c.
$__0
6d. Other. Add ail other priority unsecured claims.
Write that amount here. a ae |
6e. Total. Add lines 6a through 6d. 6e.
sg 2467
Total claim
Total clalme 6f. Student loans 6f. s 0
from Part2 6. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g. $__0
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. Gi. +s 74636
j. Total. Add lines 6f through 6i. i.
5 vous 4 $___74636

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of
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Debtor 1 Gerardo Rios
Firet Name Middie Name Last Name

Case number (i known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4.7 di 0953 2434
Citi Sears Credit Cards Last 4 digits of account number U955 $

Nonprionty Creditors Name 2015
i
Po Box 78051 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
Phoenix AZ 85062-8051
City State ZIP Code U2 Contingent
O) unliquidated
Who incurred the debt? Check one. D2 pisputea
a Debtor 1 only
QO) Debtor 2 only Type of NONPRIORITY unsecured claim:
O) Debtor 1 and Debtor 2 only (2 student loans
1 At least one of the debtors and another (2 Objigations arising out of a separation agreement or divorce that
. an you did not report as priority claims
UO Check if this claim is for a community debt QO to pension or profit-sharing and other simitar
is the claim subject to offset? (A Other. Specify Credit Card
No
Ci Yes
am 260
Citibank Home Depot Credit Ser Last 4 digits of account number _"""T  __. __ s
Nonpriarity Creditors Name 2010
When was the debt incurred?
Po Box 78011
Number Street \ As of the date you file, the claim is: Check all that apply.
Phoenix AZ $5062-801
Cay State ZIP Code QO) Contingent
 Unliquidated
Who incurred the debt? Check one. 2 pisputed
1 Debtor 1 only
LD Debtor 2 onty Type of NONPRIORITY unsecured claim:
UO Debtor 1 and Debtor 2 only CQ student loans
0) At least one of the debtors and another OQ) Obtigations arising out of a separation agreement or divorce that
ct you did not report as priority claims
0 k It this claim is for a community debt (1 Debts to pension or profit-sharing plans, and other similar debts
ts the claim subject to offset? | Other. Specify_ Credit Card
i no
UO Yes
fas | $.14214
Di Last 4 digits of account number 5462)
ISCOVCr
peer Soares name When was the debt incurred? _2013
as ui
Po Box 790213 “
Number Street As of the date you file, the claim is: Check all that apply.
St Louis MO 63179-0213
City State ZIP Code C2 Contingent
2 unliquidated
Who incurred the debt? Check one. 2 Disputed
0 Debtor 1 only
(2 Debtor 2 only Type of NONPRIORITY unsecured claim:

(3 Debtor 4 and Debtor 2 only
C2) At teast one of the debtors and another

CQ) Check if this claim is for a community debt
Is the claim subject to offset?

B no
(2 Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

UO) Student toans

C2 Objigations arising out of a separation agreement or divorce that
you did not report as priority daims

(2 Debts to pension or profit-sharing plans, and other similar debts

W other. Specty Credit Card

page 6_ of 8 _
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 23 of 50

 

Debtor 1 Gerardo Rigs
First Name Middle Name Laet Name

Case number (it known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

Mercury Card Services

 

Nonpriority Creditors Name

Po Box 84064
Number Street

Columbus GA 31908-4064
City State ZIP Code

Who incurred the debt? Check one.

a Debtor 1 only

C) Debtor 2 only

(3 Debtor 1 and Debtor 2 only

C2 At feast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

Zi No
(3 Yes

Paypal Credit/synch

Nonpriority Creditor’s Name

Po Box 960006
Number Street

Orlando FL 32896-0006 |
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only

C) Debtor 2 onty

(2 Debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

check if this claim is for a community debt

Is the claim subject to offset?

Zi no
Q) Yes

Synchrony Bank/amazon
Nonpriority Creditor’s Name

Po Box 960013
Number Street

Oriando FL 32896-0013
City State ZIP Code
Who incurred the debt? Check one.

11 Debtor 1 only

(2 Debtor 2 only

() Debtor 4 and Debtor 2 only

(C) At east one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

B nwo
C ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number 1636 0 $3710

When was the debt incurred? _2015

As of the date you file, the claim is: Check ail that apply.
C1 Contingent

OQ) unliquidated

OQ Disputed

Type of NONPRIORITY unsecured claim:

(Student loans

() Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
(J Debts to pension or profit-sharing plans, and other similar debts

(A Other. Specify CreditCard

Last 4 digits of account number _ 8312 $ 3477

When was the debt incurred? 2010

As of the date you file, the ciaim is: Check all that apply.
(2 Contingent

(2 Unliquidated

2 disputed

Type of NONPRIORITY unsecured claim:

(student toans

{) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
im} Debts to pension or profit-sharing plans, and other similar debts

(@ other. Specify Credit Card 2

Last 4 digits of account number _9238 _ +371

When was the debt incurred? _ 2010

As of the date you file, the claim is: Check ail that apply.

LJ Contingent
O untiquidatea
C) Disputed

Type of NONPRIORITY unsecured claim:

CJ Student toans

QQ Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(3 Debts to pension or profit-sharing plans, and other similar debts

A other. Specity_ Credit Card

page7_of 8
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Debtor 1 Gerardo Rios
First Name Middie Name ‘Last Name

Case number (it mown),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4.13 Last 4 digits of int number 1291

Synchrony Bank/jcp igits of account number Te?h  __ _ $ 1538
Nonpriority Creditor’s Name 2018
Po Box 960090 When was the debt incurred?
Number Street

As of the date you file, the claim is: Check ail that apply.
Orlando FL 32896-0090
City State ZiP Code (3 Contingent

CQ) Unliquidated
Who incurred the debt? Check one. 2 pisputed
a Debtor 1 only
QO) Debtor 2 onty Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only CO student loans
(1 At least one of the debtors and another (2 Obligations arising out of a separation agreement or divorce that

you did not report as priority claims

C) Check if this claim is for a community debt
is the claim subject to offset?

© No
O ves

 

Nonprionty Creditors Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

C) Debtor 1 only

C) Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(C) At east one of the debtors and another

C) Check if this claim is for a community debt

is the clalm subject to offset?

(No
Ql Yes

 

Nonpriority Creditors Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

C3 Debtor 1 only

C) Debtor 2 onty

CJ Debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

(2 Check if this claim is for a community debt

is the claim subject to offset?

LI No
O Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

CJ Debts to pension or profit-sharing plans, and other simitar debts
VA Other. Speciy_CreditCard =

Last 4 digits of account number ____

— — $

When was the debt incurred?

As of the date you fife, the claim is: Check ail that apply.
C} Contingent

OD} Unliquidated

(3 disputed

Type of NONPRIORITY unsecured claim:

OQ student loans

CD Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q Debts to pension or profit-sharing pians, and other similar debts

QO other. Specity

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.
QO) Contingent

DO unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:

(J Student toans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

{) Debts to pension or profit-sharing plana, and other similar debts

C) other. Specity

page 8_of 8_
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Fillin this information to identify your case

Debtor Gerardo

Firet Name

Debtor 2
(Spouse ff filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERpistrict of TEXAS

Ci ber
tno) Q) check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/18

Be as complete and accurate as possibie. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
(CD Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

Name

 

 

Number — Street

 

City State ZIP Code

2.2

 

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

2.4

 

Name

 

Number Street

 

City State ZIP Code
2.5

Name

 

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1of_
Debtor 1 Gerardo

Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 26 of 50

First Name

Middie Name

Rios Case number (it known)
Last Name

P| Additional Page if You Have More Contracts or Loases

Person or company with whom you have the contract or lease

2.6

 

 

Number

 

City
2.7

State

ZIP Code

 

Name

 

Number

 

City

2.8

State

ZIP Code

 

Name

 

Number

 

City

2.9

State

ZIP Code

 

Name

 

Number

Street

 

2.10

ZIP Code

 

Name

 

Number

 

City

2.11

State

ZIP Code

 

Name

 

Number

 

2.12

State

ZIP Code

 

Name

 

Number

Street

 

City

2.43

State

ZIP Code

 

 

Number

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

What the contract or lease is for

page __ of

—
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 27 of 50

Fillin this information to identify your case

Debtor 4 Gerardo
"First Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for thBQUTHER District of TEXAS

Case number
(If known)

 

 

 

(2) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are algo liable for any debts you may have. Be as compiete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number tho entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
(4 No
Q) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

(2 No. Go to line 3.
Q) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
CG} No
(2 Yes. In which community state or territory did you live? - Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor If your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
|
— (J Schedule D, line
(] Schedule E/F, fine
Number Street C) Schedule G, line
City State ZIP Code
|
a QO Schedule D, line
) Schedule E/F, line
Number Street GO Schedule G, line
City State ZiP Code
Nome (J Schedule D, line
(} Schedule E/F, tine
Number Street (2 Schedule G, line
City State ZIP Code

Official Form 106H Schedule H: Your Codebtors page 1 of____
Debtor 4 Gerardo

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First Name

Last Name

p Additional Page to List More Codebtors

Case number (it known)

 

Column 1: Your codebtor

i

 

Name

 

Number

Street

 

State

ZIP Code

 

 

Number

Street

 

City

State

ZIP Code

 

 

Number

Street

 

City

State

ZIP Code

 

 

Number

Street

 

State

ZiP Code

 

 

Street

 

State

ZIP Code

 

Name

 

Number

 

State

ZIP Code

 

Name

 

Number

Street

 

State

ZIP Code

 

Name

 

Number

Street

 

Official Form 106H

State

ZIP Code

Schedule H: Your Codebtors

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

Q) Schedule D, fine
Q) Schedule EF, line
Q) Schedule G, line

() Schedule D, line
() Schedule E/F, line
Q) ScheduleG, fine

C) Schedule D, line
Q) Schedule E/F, line
(2) Schedule G, line

C) Schedule D, line
C) Schedule Ef, line
CL} Schedule G, line

O Schedule D, line
O) Schedule E/F, line
O ScheduleG, line

2) Schedule D, line
(3) Schedule E/F, line
CJ Schedule G, line

C} Schedule D, line
Q) Schedule E/F, line
C) Schedule G, line

{J Schedule D, line
Q Schedule Ef, line
QO) Schedule G, line

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LeU ID GATE MIS RCOiM bere EL SIRIROMIGLerasele

Fe ete

Gerardo

First Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHER pistrict of TEXAS

Case number Check if this is:
(if known)
() An amended filing

 

 

QA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 ii 7 DDT YYW

 

Schedule I: Your Income 42/46

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

Part 1: Describe Employment

 

1. Fillin your employment

 

 

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,
attach a separate page with
information about additional Employment status [2 Employed [C1 Employed
employers. Mi Not employed CO Not employed
Include part-time, seasonal, or
self-employed work.
Occupation may include student Occupation
or homemaker, if it applies.
Employer's name
Employer's address
Number Street Number Street
City State ZIP Code City State ZIP Code
How long employed there?

ities: Give Detaiis About Monthly income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or

 

 

non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $0 $
3. Estimate and list monthly overtime pay. 3. +39 + $
4. Calculate gross Income. Add line 2 + tine 3. 4.| $9 $

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 30 of 50

 

 

Debtor 1 Gerardo Rios Case number (it known)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy Vine 4 Were... cece ecccccssesseceeeseececensccanseccecesanesenssneescesecensecaesuseeseeanees >s $9 $

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $0 $
5b. Mandatory contributions for retirement plans 5b. $20 $
5c. Voluntary contributions for retirement plans 5c. $0 $.
5d. Required repayments of retirement fund foans 5d. $0 $
5e. Insurance Se. $0 $
5f. Domestic support obligations 5f. $600 $
5g. Union dues 5g. $9 $
5h. Other deductions. Specify: 5h. +$0 + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e+5f+5g+5h. 6. $ 600 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $-600 $
8. List ail other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $0 $

monthly net income. 8a. ee
8b. interest and dividends 8. $90 $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Inchxde alimony, spousal support, child support, maintenance, divorce $0 $

settlement, and property settlement. 8c.
8d. Unemployment compensation sd. $0 $
8e. Social Security 8. $0 $
8f. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: a $0 $
8g. Pension or retirement income 8g. $0 $
8h. Other monthly income. Specify: Ebay 8h. +$ 200 +§

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Sh. 9. | $ 200 $
10. Calculate monthly income. Add line 7 + line 9. -400 + eee
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.) 5-2. $s

 

 

 

 

 

11. State ali other regular contributions to the expenses that you list In Schedule J.
Inchxde contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

 

 

 

 

 

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11.+% $0

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies 12. 00
Combined
monthly income

13. Do you expect an increase or decrease within the year after you file this form?
RZi No.
[Cd Yes. Explain:

 

 

 

Official Form 1061 Schedule I: Your Income page 2
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Land LTR ARTE SETAC OT MET A CLOT COTO ESTES a 2e NCEE ETS

Gerardo
Debtor | sas Check if this is:
Debtor 2 (J) An amended filing

(Spouse, # filing) First Name Middle Narne
OA supplement showing postpetition chapter 13
expenses as of the following date:

 

 

United States Bankruptcy Court for the: SOUTHER pistrict of TEXAS

renee MM 7 DD? YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 42/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1: Describe Your Household

4. Is this a joint case?

jel No. Goto fine 2.
(CY Yes. Does Debtor 2 tive in a separate household?

No
Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? oO No

 

 

 

 

 

 

 

Dependent’s relationship to Dependent's Does dependent live

Do not list Debtor 1 and | Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?

Debtor 2. each dependent... cee

Do not state the dependents’ Sister 48 (LI No

names. {7 Yes
MW no
5 Yes
ve No
a Yes
(wr No
(or Yes
V No
Gr Yes

3. Do your expenses include iw No
expenses of people other than
yourself and your dependents? (C1 Yes

part 2: Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. inciude first mortgage payments and 1165 —
any rent for the ground or lot. 4. $
Hf not included in tine 4:
4a. Real estate taxes 4a 50
4b. Property, homeowner's, or renter’s insurance 4, § 9
4c. Home maintenance, repair, and upkeep expenses 4c. $ 100
4a. Homeowner's association or condominium dues 44a. § 25

Official Form 106J Schedule J: Your Expenses page 1
Debtor 1

10.
11.

42.

13.
14.

45.

16.

17.

18.

19.

20.

Official Form 106J

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Gerardo

First Name

Ries
Last Name

 

Middle Name

. Additional mortgage payments for your residence, such as home equity loans

Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Intemet, satellite, and cable services
6d. Other. Specify: Gas

. Food and housekeeping supplies
. Childcare and children's education costs
. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicte 2

17c. Other. Specify, SBA

17d. Other. Specify:

 

Case number (if known)

10.

11.

12.
13.
14.

15a.
15b.
15c.
15d.

16.

17a.
17b.
t7c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your income (Official Form 106i).

Other payments you make to support others who do not live with you.
Specify:

18.

19.

Other real property expenses not included in fines 4 or 5 of this form or on Schedule t: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

20a.

20b.

20e.

Your expenses

$ 315

 

page 2
Case 19-34704 Document5 Filed in TXSB on 08/23/19 Page 33 of 50

 

Debtor 1 Gerardo Rios
Firet Name Middie Name Last Name
21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy fine 22 (monthly expenses for Debtor 2), if any, from Official Farm 106J-2
22c. Add line 22a and 22b. The resutt is your monthly expenses.

23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule 1.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (i known),

21.

22a.

23a.

23b.

23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampie, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

fl No.
[ Yes. Explain here:

Official Form 106J Schedule J: Your Expenses

+5 9

$ 5245

¢ -400

~$ 5245

 

 

$.

-5645

 

page 3

 
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Fillin this iafgrnation to identify your case

Debtor Gerardo
First Name

 

Debtor 2
(Spouse, if filing) First Name

 

United States Bankruptcy Court for the: SOUTHER District of TEXAS

Case number
(If known)

 

CI Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/15

 

if two married people are filing together, both are equaily responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1619, and 3571.

a

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Q No

C} Yes. Name of person, . Attach Banicuptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penaity of perjury, | deciare that | have read the summary and schedules filed with this declaration and
that they are true and correct. ;

 

 

Signature of Debtor 2

 

Date
MMI DD 1 YYYY

 

Official Form 106Dec Declaration About an individual Debtor's Schedules
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aL CLE OLA LCA GL OC CoC Check one box only as directed in this torn: and 4

Gerardo ol ttre eR ECTET STD)

Fist Name

Debtor 1

 

wa 1. There is no presumption of abuse.
Debtor 2

(Spouse, if filing) First Name Middle Name

 

(2 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2).

my 3. The Means Test does not apply now because of
qualified military service but it could apply later.

TEXAS

United States Bankruptcy Court for the: SOUTHER pigtict of

Case number
(If known)

 

  

 

 

C) Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsibie for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (If known). If you belleve that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 

co Caiculate Your Current Monthly income

1. What is your marital and filing status? Check one only.
Gd Not married. Fill out Column A, lines 2-11.
CJ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

Married and your spouse is NOT filing with you. You and your spouse are:
(2 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

{J Living separately or are legally separated. Fill out Column A, tines 2-11; do not fill out Column B. By checking this box, you declare
under penaity of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. if the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For exampie, if both spouses own the same rental property, put the
income from that property in one column only. !f you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

(before all payroll deductions). S$ O $
“3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $s $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not

 

filled in. Do not include payments you listed on line 3. $C $
§. Net t Income from operating a business, profession, Debtor 1 Debtor 2
Gross receipts (before all deductions) *— $
Ordinary and necessary operating expenses -~$ @-$
Net monthly income from a business, profession, or farm $9 g§ FoPy $ 0 $
6. Net income from rental and other real property Debtor 1 Debtor 2
Gross receipts (before all deductions) $0 $
Ordinary and necessary operating expenses -$ O0-$
Net monthly income from rental or other real property $0 $. FOPyy, $
7. Interest, dividends, and royalties $ 0 $

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
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Debtor 4 Gerardo Rios Case number (known,
Fist Name Middie Name Cast Name

Column A Column B
Debtor 1 Debtor 2 or
nonmfiling spouse
8. Unemployment compensation $ 0 $

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: cece v

FOP YOU oes esses cs tsccnceescenenneerseeseenenees $
FOP YOU SPOUSE... .sceccessseesneeeeseeteee $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0 $

10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or intemational or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

Ebay 2005 200 $
Os $
Total amounts from separate pages, if any. +¢$ +

 

 

 

 

 

11. Calculate your total current monthly income. Add lines 2 through 10 for each
column. Then add the total for Column A to the total for Column B. $ 200 $ $ 200

 

 

 

Total current
monthly income

ws Determine Whether the Means Test Applies to You

 

12. Caiculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income from line 41. ..... . . Copy line 11 here> $ 200

 

Multiply by 12 (the number of months in a year). x 12

12b. The result is your annual income for this part of the form. 12b. $ 2400

13. Caiculate the median family Income that applies to you. Follow these steps:

Fill in the state in which you live. TEXAS

Fill in the number of people in your household. 5

 

Fill in the median family income for your state and size of HOUSEHOMD. oo. ccccccccssccosssssssscseccssssercescssssesnsrsessanssnen 13. $ 92960

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

140 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

il Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Part 3: GR

 

By signing here, | declare naity jury that the information on this statement and in any attachments is true and correct.
e
x x
SignefGre of t Signature of Debtor 2
Date” ¢ o Date
MM [ DD fi MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked fine 14b, fill out Form 122A—2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
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Fill in this information to identity your case:

Debtor 4 Gerardo Rios
Fis

iret Name i Last Name

 

Debtor 2
(Spouse, if filing) First Name Last Name

 

United States Bankruptcy Court for the: SOUTHER istrict of TEXAS

Case number cat:
{if known) C] Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

Q Marie

[Rd Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

[ No

oa Yes. List all of the places you lived in the fast 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
C2 same as Debtor 1 CJ Same as Debtor 1
From From
Number Street Number Street
To —_— To Oo
City State ZIP Code City State ZIP Code
UC) same as Debtor 1 LJ Same as Debtor 1
From From
Number Street Number Street
To _ To _
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and territories include Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

[4 No

[LT Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1
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Gerardo

First Name

Debtor 1 Case number (if known),
Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

[No

[Wd Yes. Fill in the details.

Debtor 1 Debtor 2

Sources of income Gross income Sources of income Gross income

Check all that apply. (before deductions and = Check ail that apply. (before deductions and

exclusions) exclusions)

From January 1 of current year until wi wages, commissions, g 13000 O wages, commissions, $ 0
the date you filed for bankruptcy: uses, Ips nuses, ips

) Operating a business Q Operating a business

Ww Wages, commissions, QO Wages, commissions,
For last calendar year: bonuses, tips $ 40375 bonuses, tips 5°
(January 1 to December 34, _¥' 2018) GQ Operating a business C] Operating a business

. @ Wages, commissions, 3 Wages, commissions,

For the calendar year before that: bonuses, tips 75613 bonuses, tips

g 9

(January 1 to December 31, “TUN _) (CY Operating a business $ C) Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of ofher income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

(CT No

I Yes. Fill in the details.

 

 

 

 

 

Debtor 4 Debtor 2
Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)
Ebay gag
From January 1 of current year until § $0
the date you filed for bankruptcy: $
$
For last calendar year: $_© $0
(January 1 to December 31, ) $ $
YYYY
For the calendar year before that: $0 $0
(January 1 to December 31, ) $ $
YYYY

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2
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Debtor 1 eetando Rios Case number (i known),
wet Name Middle Name Last Name

 

 

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2's debts primarity consumer debts?
[C7 No. Neither Debtor 4 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
‘incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

(I No. Go to line 7.

QO Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

[a Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
Ouring the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

ia No. Go to line 7.
fo Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attomey for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you stil owe Was this payment for...
payment
$ $
Creditor's Name C1 Mortgage
O) car
Number Street CD credit card
(3 Loan repayment
(CD supptiers or vendors
City State GP Code ( other
$ $ Cl Mortgage
Creditors Name
0) car
Sumber “Sueet C) Credit card
U Loan repayment
(C2 suppliers or vendors
City State ZIP Code OD other
$ $ Mortgage
Creditors Name Q
CI car
janber Sioa (CD credit card
(2 Loan repayment
(C3 suppiiers or vendors
City State iP Code OF other

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
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Debtor 1 Gerardo Rios Case number (known)
Fret Name Middle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

[ii No

(a Yes. List all payments to an insider.
Dates of Total amount Amount you still Reason for this payment
owe

 

 

 

 

 

 

 

 

payment paid

- $ $
insider's Name
Number Street
City State ZIP Code

$ $

insider's Name
Number Street
City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
Include payments on debts guaranteed or cosigned by an insider.

I No

(Cl Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still, Reason for this payment
payment paid owe include creditor's name
insider's Name be s
Number Street
City State ZIP Code
$ $
insider's Name
Number Street
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
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Debtor 4 Gerardo Ries
First Name Middle Name Last Name

Case number (i known)

 

tisa-te identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, patemity actions, support or custody modifications,
and contract disputes.

[v9 No

ICT Yes. Fil in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Casetile, Court Name Q Pending
QQ On appeal
fumber Steet C concluded
Case number
City State ZIP Code
Case title Court Name C1 Pending
Q On appeal
Number Street TD conduded
Case number —_
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

[i No. Goto line 11.
[O Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

Describe the property Date Value of the property
- $
Creditors Name
Number Street Explain what happened
Q Property was repossessed.
U Property was foreclosed.
(J) Property was gamished.
Cay State ZIP Code C) Property was attached, seized, or levied.
Describe the property Date Vatue of the propert;
$
Creditors Name
Number Street
Explain what happened
(C) Property was repossessed.
{J Property was foreclosed.
oy Sas HP Cos QQ) Property was gamished.
C) Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor 4 Gerardo Rios Case number (1 moun)
First Name Middia Name Last Name

41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

i No

CD Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

I No
Q) Yes

itlaae List Certain Gifts and Contributions

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

i No

© Yes. Fil in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

 

Person to Whom You Gave the Gift

 

 

 

City State ZIP Code

Person's relationship to you

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

 

Person to Whom You Gave the Gift

 

 

 

City State ZIP Code

Person's relationship to you

 

Official Form 107 Statement of Financial Affairs for Individuals Fiting for Bankruptcy page 6
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Debtor 1 Gerardo Rios Case number (i town)
First Name Middle Name. Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

[VA No

Cl Yes. Fill in the details for each gift or contribution.

 

 

 

 

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
. $
Charity's Name
$
Number Street
City State ZIP Code

laa cH List Certain Losses

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

[id No

(CT Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
lost

how the loss occurred
u include the amount that insurance has paid, List pending insurance
claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

y

: 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

[1 No

(CY ves. Fill in the detaits.

 

 

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$.
City State ZIP Code
Email or website address

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Fillng for Bankruptcy page 7
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Debtor 4 Gerardo Rios Case number (trknewn,
First Name Middie Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number — Street
$

City State ZIP Code

Emad or website address

 

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

[4 No

CI Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$
City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
ia No
IC) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

 

 

 

 

Person Who Received Transfer
Number Street
City State ZIP Code

Person's relationship to you

Offical Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8
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Debtor 1 Gerardo Rios Case number (i known),
First Name Middle Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

I No

C) Yes. Fill in the details.

Description and value of the property transferred Date transfer
Was made

Name of trust

 

Zien Liet Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, solid, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Li No

(Cr Yes. Fill in the detalts.

 

 

 

 

 

 

 

 

 

Last 4 digits of account number — Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial Institution
XXXX—__ CQ) checking $
Number Street CI savings
CJ Money market
C] erokerage
Cty State = ZIP Code OD other
XXXX-__ C) checking $e
Name of Financial institution
CD savings
Number Street OC money market
(C2 Brokerage
_ CQ other,
chy State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

No
[CY Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to K? Describe the contents Do you still
have Kt?
C] No
Name of Financial Inetitutlon Name QO] Yes
Number Street Number Street
City State 2P Code

Chy State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
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Debtor 1 Gerardo Rios

Case number (i krown)
First Name Middle Name Last Name

' 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

CJ Yes. Filt in the details.

 

Who else has or had access to t? Describe the contents Do you still
have it?
CANo
Name of Storage Facility Name O yes
Number Street Number Street

 

 

City State ZIP Code

 

City State ZP Code

Ere identify Property You Hold or Control for Someone Else

: 23. Do you hold or contro! any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

(a No
[UT Yes. Fill in the details.

 

 

 

 

 

 

 

 

Where is the property? Describe the property Vatue
Owner's Name $
Number Street
Number Street
tay Sn EP Code City State ZIP Code

Fist Give Detale About Environmental information

For the purpose of Part 10, the following definitions apply:

= Environmental law means any federal, state, or local statute or regulation conceming pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the alr, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

= Site means any !ocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be Ilabie or potentially liable under or in violation of an environmental law?

I No

C) Yes. Fill in the details.

 

 

 

Governmental! unit Environmental law, if you know it Date of notice
Neme of site Governmental unit ————
Number Street Number Street

City State ZIP Code

 

 

Chty State  2iP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy - page 10
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Debtor 1 Gerardo Rios Case number (ir known),
First Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

i No

Cl Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

Clty State ZIP Cade

 

Cry State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Ii No

Cl Yes. Fill in the details.

 

 

Court or agency Nature of the case Status of the
Court Name Pending
QO On appeal
Number Street (1 concluded
Case number Cy ~*~*”:”:C«State«sP Code

‘fishin Give Detalis About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
0 Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
OQ) Amember of a limited lability company (LLC) or iimited Hability partnership (LLP)
QO A partner in a partnership
() An officer, director, or managing executive of a corporation

An owner of at least 5% of the voting or equity securities of a corporation

Fy No. None of the above applies. Go to Part 12.
(O Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
Do not include Social Security number or (TIN.

 

 

 

 

 

 

 

 

 

 

Business Name
EIN;
Number Steet
Name of accountant or bookkeeper Dates business existed
From To
Clty State ZIP Code
Describe the nature of the business Employer identification number
Do not include Social Security number or ITIN.
EIN: om
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 11
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Debtor 1 Gerardo Rios Case number (known)
First Name Middle Name Last Name
Describe the nature of the business Employ "

Do not include Social Security number or ITIN.

Business Name
EIN; el

Number Sire Name of accountant or bookkeeper Dates business existed
From To

Chy State ZIP Code

26. Within 2 years before you filed for bankniptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

I No

CD Yes. Fill in the details below.
Date issued

 

Name wa /DD/YYYY

 

 

 

~~

 

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, an .

  

Signature of 1 C Signature of Debtor 2

owe 2G ne (5 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

ht No
Q Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
Q) No

(J Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12
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Fill in this information to identify your case

erardo Rios
Debtor 1 Gerard

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middie Name Last Name
United States Bankruptcy Court for the: SOUTHER pistrict of TEXAS
Case number
(if known)

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

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Q) Check if this is an
amended filing

12/15

 

If you are an individual filing under chapter 7, you must fill out this form if:
@ creditors have claims secured by your property, or
@ you have eased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

if two married people are filing together in a joint case, both are equalty responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

List Your Creditors Who Have Secured Ciaims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fil in the

 

 

 

 

information below.
identify the creditor and the property that is collateral aa ee et 2 G0 with the property that on cromat on Seed oe
secures a ase on
ven ditor's Rocket Mortgage IC) surrender the property. Y io
7 CT Retain the property and redeem it. es
property n of (Mi Retain the property and enter into a
securing debt: Reaffirmation Agreement.
(Ct Retain the property and [explain]:
Family Residence
itor’
seats Bank Of America [LI Surrender the property |_|No
[CI Retain the property and redeem it. es
property of [ZI Retain the property and enter into a
securing debt: Reaffirmation Agreement.
[C Retain the property and [explain]:
2016 Dodge Ram
vec 5 Sba Loan (CJ Surrender the property. a No
_ Retain the property and redeem it. es
property of [Ml Retain the property and enter into a
securing debt: _Reaffirmation Agreement.
(QO Retain the property and [explain]:
Family Residence
peeditor’s Star Properties [CY Surrender the property. | No
sotion of [CY Retain the property and redeem it. es
property ° (Wi Retain the property and enter into a
securing debt: Reaffirmation Agreement.
FU Retain the property and [explain]:
Land Lot
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Debtor 4 Gerardo Rios Case number (if known),
Feet Name Middle Name Last Name

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information beiow. Do not fist real estate leases. Linexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease If the trustee does not assume it. 11 U.S.C. § 365(p\(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessors name: CY No
Description of leased [Ul Yes
property:

Lessors name: KI No
Description of leased IV Yes
property:

Lessor’s name: CINo
Description of leased ICD ves
property:

Lessor’s name: fo No

(FD Yes

Description of leased
property:

Lessors name: LINo

CT Yes

Description of leased
property:

Lessor’s name: jo No

¥

Description of leased (a ad
property:

Lessor’s name: Ci wo

ag: Li ves

Description of leased
property:

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is su ie

red lease.

x

Signature of Debtor 2

 

 

  

Date
MM/ DOT YYYY

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